    AO 91 (Rev. 11 /11) Crn111nal C-O mplainl


                                            UNlTED STATES DISTRICT COURT
                                                                           for the
                                                           Eastern Di strict of North Caroli na

                       United States of America
                                       v.
                      Bernardo Villalba-Quiterio
                                                                                     Case No.
                 a/kla "Bernardo Villazba-Quiterio,"
                       and "Fernando Bustos"


                                 Defe ndrml(sJ


                                                           CRIMINAL COMPLAINT
               I, the complainant in thi s case, stntc that the fol low ing is true lo the best of my know ledge and belief.
    On or about the date(s) of                          April 21, 2018               in the co unty of     ~~~~--'-~~~~~-
                                                                                                                          Tyrrell           in th e
           Eastern            District of
                                                --   --North
                                                        - Carolina        ' the defend ant(s) viola ted:

                  Code Section                                                          Offense Description
    8 U.S.C. § 1326(a)                                    The defendant, an alien , was found in the United States after having
                                                          previously been denied admission, excluded , deported and removed from the
                                                          United States on January 14, 2010, at Laredo, Texas, and again on February
                                                          11, 2010, at Brownsville, Texas, and not having obtained the express
                                                          consent of the Attorney General , or his successor, the Secretary of
                                                          Homeland Security , to reapply for admission thereto.



               This crimina l complaint is based on these facts:

    please see attached affidavit




               fi Continued on the attached sheet.

                                                                                                           Co111µla ina111 ·s si   (lfure


    On this day, Frederick Tarry                                     ~                        Frederick Tarry , Deportation Officer, ICE
                                                                                                            l'ri111ed 11a111e nnd tille
    appeared before 1117 v is re liable clceu o11 ie 1 11e1~ 4 was
    placed under oath         ~ atte~ted to the con tents ~ /
    .of thi s Cop1plain~ lMA.d. ~ ~ ..JW_ ~rl              ~
    (,' \ ffi~ fr ~oz.... . j
     Date:          (p / ;2...6 I 9
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    Ciry and state:                      Greenville , North Carol ina                     KIMBERLY A. SWANK, U.S. Magistrate Judge
                                                                                                            !'rimed name a11d 1i1/e




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                             IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA

                                             AFFIDAVIT

            1.     I,    Frederick Tarry,      having been duly sworn,       do hereby

      depose and state:        I am a Deportation Officer with the Department

      of Homeland Security,          Immigration and Customs Enforcement        (ICE),

      formerly known as the Immigration and Naturalization Service (INS),

      assigned to the Raleigh, North Carolina office. I have been employed

      by   ICE   for    over   11   years,   since   September 17,   2006.   My duties

      routinely include the investigation of violations of the federal

      criminal statutes concerning immigration offenses,                including the

      reentry of illegal aliens into the United States.

            2. This affidavit is submitted as evidence of probable cause

      supporting the arrest warrant for Bernardo Villalba-Quiterio, also

      known as "Bernardo Villazba-Quiterio," and "Fernando Bustos" {here

      after referred to as "VILLALBA") for reentry by an alien previously

      removed in violation of Title 8 U.S.C.              §   1326(a). This affidavit

      does not set forth all information known to your affiant about this

      case and is being submitted for the purpose of providing sufficient

      information to establish probable cause.

            3.   In the course of investigating this matter, I have obtained

      information through law enforcement channels and the official Alien

      File {A-File) numbered A089 953 297. This file is maintained in the

      name of Bernardo Villalba-Quiterio and contains this individual's




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biographical     information,     family     history,     records        of    encounters

with ICE,    conviction records, photographs and fingerprints.                           Based

on the review of documents from this A-File,                  I have concluded that

it does in fact pertain to the defendant in this matter.

     4.     The A-File reflects the following information relative to

this individual:

            a.    VILLALBA is a citizen and national of Mexico.

            b.    His date of birth is XXX XX, 1988, and his name is

                  correctly      reflected      in     this     affidavit          and     the

                  complaint to which it is attached.

            c.    VILLALBA,     on an unknown date,             entered the United

                  States at an unknown place,             and was not inspected

                  or admitted by an immigration official.

            d.    VILLALBA was,       on October 6, 2008, convicted in the

                  Guilford County,       North Carolina Superior Court for

                  Common Law Robbery, and sentenced to 10 to 12 months

                  incarceration,        Attempted       Common         Law    Robbery,       a

                  felony,       and     sentenced        to        5    to     6     months

                  incarceration.

            e.    VILLALBA was,        on October 20,         2009,     encountered by

                  ICE   at      the    Dan     River     Prison         Work       Farm     in

                  Yanceyville,        North Carolina,         and      identified as         a

                  removable      alien       based     upon    a       voluntary         sworn


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                statement and record checks.

         f.     VILLALBA was,      on January 6,          2010,    ordered removed

                from the U.S. to Mexico by an inunigration judge at

                Atlanta, Georgia.

         g.     VILLALBA was, on January 14, 2010, removed from the

                U.S. to Mexico at Laredo, Texas, after he was warned

                of the penalties for reentry, per Form I-294.

         h.     VILLALBA, of his own volition, reentered the United

                States on an unknown date at an unknown place, and

                did so without obtaining the express consent of the

                Attorney General, or his successor the Secretary of

                Homeland Security, to reapply for admission.

          i.    VILLALBA was,      on January 22,          2010,    encountered by

                ICE agents pursuant to a vehicle stop by local law

                enforcement     in       Warren    County,        Mississippi,    and

                identified    as     a       previously    removed     alien     by   a

                voluntary sworn statement and biometric match. The

                prior order of removal was reinstated.

          j.    VILLALBA was, on February 11, 2010, removed from the

                U.S. to Mexico at Brownsville, Texas, after he was

                warned of the penalties             for   reentry,     per   Form I-

                294.

          k.    VILLALBA, of his own volition, reentered the United


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                             States on an unknown date at an unknown place, and

                             did so without obtaining the express consent of the

                             Attorney General, or his successor the Secretary of

                             Homeland Security, to reapply for admission.

             5.     A search of ICE databases reveals that VILLALBA did not

     seek permission of the United States Attorney General to reenter

     as required by 8 U.S.C. § 1360(d).

             6.     On April 21,        2018,     VILLALBA was arrested for Speeding,

     Driving While License Revoked,                Driving While Impaired, and Simple

     Possession of a Schedule IV Controlled Substance in Tyrrell County,

     North        Carolina    by    a   Tyrrell    County   Sheriff's    Deputy   with    the

     assistance of a North Carolina State Trooper.                      A complete set of

     fingerprints       were       taken and      submitted to   OHS    and   FBI databases

     resulting in a positive biometric match for a previously removed

     alien.       ICE was notified of VILLALBA's presence in the U.S.                    by a

     phone call from the Trooper which was confirmed by an Immigration

     Alien        Response    generated     by    the   biometric match.      VILLABLA    was

     booked into the Dare County Jail,                  and an ICE detainer was lodged

     with the jail.

             7.     On June 14, 2018, VILLALBA was convicted in the Tyrrell

     County District Court for Driving While Impaired, and sentenced to

     60 days incarceration. VILLALBA is currently in ICE custody at the

     Wake County Detention Center pending removal.


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             8.    Based on all the fore go ing ,             I,    Fre deri ck Tarry ,    believ e

      that   there      is   ampl e    probable       cause    to    concl ud e   that    Be rnardo

      Villalba - Quiterio is          in    Eac    g u i l ty of    illegal    reentry    into   the

      United States by an alien previously removed in vio l a tion of Title

      8 U.S . C.   §   1326(a) ,      and respectfully ask t hat              the Co urt i ssue a

      warrant ordering his arrest for such crime .



             Further yo u r Affiant sa yet h not .



                                       L::~~
                                   Fre d erick Tarry
                                   Deportati o n Officer
                                   Immigration & Customs Enforceme n t



      On this      28
                   H- day of June 2 018 , Deport atio n Officer Frederick
      Tarry appeared bef ore           m~ ~ ia
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                                                               was placed
                                                                                                       I
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      under oath , ~ attested to the co n tents of his a f idavit/ 0-¥.d
                   v    ~                  n~.o.e..n a- .



      United States Magistrate Judg e
      Eastern District of North Carolina




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